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                         IN THE UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                  CASE NO. _________________

  GUSTAVO GARCIA,
  and all others similarly situated under
  29 U.S.C. §216(b),

        Plaintiff(s),


  vs.

  GREENE KLEEN OF SOUTH FLORIDA, INC.,
  CIRA FIGUEROA, individually, and
  ANTHONY FIGUEROA, individually,

        Defendants.
  __________________________________________/

                                           COMPLAINT

                        Collective Action Pursuant to 29 U.S.C. §216(b)

        Plaintiff GUSTAVO GARCIA (“Plaintiff”), by and through undersigned

  counsel and on behalf of himself and all those similarly situated, hereby files this

  Complaint against GREENEE KLEEN OF SOUTH FLORIDA, INC. (“Greene

  Kleen”), CIRA FIGUEROA (“Cira”), individually, and ANTHONY FIGUEROA

  (“Anthony”), individually (collectively hereinafter “Defendants”) and alleges as

  follows:

                                           Introduction

        1.     This is an action by Plaintiff against Defendants for damages in

  connection to claims for unpaid overtime wages pursuant to the Fair Labor

  Standards Act, 29 U.S.C. §§ 201 et seq. (“FLSA”).
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        2.     Plaintiff seeks money damages, reasonable attorneys’ fees and costs,

  and all other remedies, including injunctive relief, allowable by law.

                           Parties, Jurisdiction and Venue

        3.     Plaintiff is a former employee of Defendants and at all material times

  resided in Miami-Dade County, Florida.

        4.     Defendant Greene Kleen, a for-profit corporation operating out of

  Miami-Dade County, Florida, was at all material times authorized to conduct its

  for-profit business in Florida and it is otherwise sui juris.

        5.     Defendant Cira was at all times material hereto a co-owner and co-

  operator of the corporate Defendant for the relevant time period. Defendant Cira

  ran or otherwise oversaw the day-to-day operations of the corporate Defendant,

  was involved in establishing the business of the corporate Defendant, had

  supervisory authority over Plaintiff, was partially or totally responsible for paying

  Plaintiff’s wages, and had the power to separate Plaintiff from his employment.

        6.     Defendant Anthony was at all times material hereto a co-owner and

  co-operator of the corporate Defendant for the relevant time period. Defendant

  Anthony ran or otherwise oversaw the day-to-day operations of the corporate

  Defendant, was involved in establishing the business of the corporate Defendant,

  had supervisory authority over Plaintiff, was partially or totally responsible for

  paying Plaintiff’s wages, and had the power to separate Plaintiff from his

  employment.




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          7.    Defendants were Plaintiff’s direct employers, joint employers, and

  co-employers based on the running of the operation, financials, and control of

  employees like Plaintiff.

          8.    Venue is proper in this Court because Defendants transact business

  in this District, Defendants maintain a principal place of business in this

  District, Defendants employed Plaintiff in this District, and the claims arose

  within the District.

          9.    All conditions precedent to this action have been satisfied by

  Plaintiff, waived by Defendants, or occurred.

     A. Plaintiff’s Employment With Defendants.

          10.   Plaintiff began working for Defendants during 2019.

          11.   During the entirety of his employment with Defendants, Plaintiff

  worked in a non-exempt maintenance position.

          12.   Plaintiff, at all material times, was paid an hourly rate of $11.50.

          13.   Plaintiff worked for Defendants until his separation on February 3,

  2022.

          14.   During his employment, Plaintiff solely worked for Defendants and

  no other entity or business.

          15.   During his employment, Plaintiff had to adhere to Defendants’ rules,

  policies, and procedures.

          16.   During his employment, Plaintiff’s schedules and working periods

  were set by Defendants.


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        17.   During Plaintiff’s employment, he routinely worked beyond forty (40)

  hours per week but Defendants only paid Plaintiff overtime wages on two pay

  periods out of dozens and dozens of pay periods where overtime hours were

  worked.

     B. Defendants’ Business and Interstate Commerce

        18.   The primary purpose of Greene Kleen is to provide janitorial services

  to commercial clients.

        19.   Under information and belief, Plaintiff alleges that Greene Kleen’s

  gross annual revenue exceeded $500,000.00 during 2019, 2020, and 2021.

        20.   Greene Kleen customarily and regularly bought and sold goods and

  services that crossed state lines.

        21.   At all relevant times, Greene Kleen employed two or more employees

  that customarily, continually, and regularly handled goods and materials that i)

  were purchased from a person or entity outside the state of Florida and/or ii)

  were purchased in Florida but had previously traveled through interstate

  commerce.

        22.   Upon information and belief, Greene Kleen obtained and solicited

  funds from non-Florida sources, accepted funds from non-Florida sources, used

  telephonic (or other electronic) transmissions going over state lines to do its

  business, transmitted funds outside the State of Florida, used electronic means

  to market and run their business in a way that was not limited to Florida, and

  otherwise regularly engaged in interstate commerce during the relevant period.


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        23.   Greene Kleen, upon information and belief, accepts checks, wire

  transfers, and other forms of payments that are made or processed outside the

  state of Florida, and did so during the relevant period.

        24.   Greene Kleen is an employer engaged in interstate commerce and

  subject to the FLSA.

        25.   As such, Greene Kleen must be considered Plaintiff’s employer as

  the term employer is defined by 29 U.S.C. § 203.

     C. Cira and Anthony Figueroa’s Employment of, and Failure to Properly
        Pay, Plaintiff

        26.   During the relevant period, Cira was co-owner and co-operator of

  Defendant Greene Kleen. Defendant Cira holds herself out as a corporate office

  of Greene Kleen on the corporate documents filed with the State of Florida.

        27.   During the relevant period, Anthony was co-owner and co-operator

  of Defendant Greene Kleen. Defendant Anthony holds herself out as the

  “President” of Greene Kleen on the corporate documents filed with the State of

  Florida.

        28.   During the relevant period, Cira and Anthony Figueroa was

  Plaintiff’s co-manager/supervisor during his employment.

        29.   During Plaintiff’s employment, Cira and Anthony Figueroa provided

  Plaintiff with his work duties, gave feedback on the work Plaintiff performed for

  Defendants, had the ability to discipline Plaintiff, were responsible for recording,

  calculating, and paying Plaintiff’s work hours.



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        30.    During the relevant period, Cira and Anthony Figueroa was in

  control of the finances that were utilized to pay Plaintiff’s wages and had the

  responsibility, in full or in part, of ensuring those wages were paid timely and

  correctly.

        31.    Cira and Anthony Figueroa, despite knowledge of Plaintiff’s overtime

  hours, failed to compensate Plaintiff fully and properly.

        32.    Cira and Anthony Figueroa intentionally refused to pay Plaintiff

  overtime wages he was owed under the.

        33.    Cira and Anthony Figueroa must be considered Plaintiff’s employers,

  joint employers, or co-employers for purposes of the FLSA as the term employer

  is defined by 29 U.S.C. § 203.

     D. Defendants' Illegal Payment Practices Affected All Other Similarly
        Situated Employees.

        34.    Defendants     employ     many      other     Maintenance       Workers   that

  performed duties in the same or similar fashion as Plaintiff.

        35.    Defendants employ many other Maintenance Workers that were paid

  in a same or similar fashion as Plaintiff.

        36.    Defendants     employ     many      other     Maintenance       Workers   that

  customarily and regularly performed overtime work for which they were not

  compensated fully.

        37.    Maintenance Workers for Defendants have worked over forty (40)

  hours a week during the last three (3) years without being paid at a proper time-

  and-a-half their regular rate of pay for all overtime hours worked.
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                             COUNT I
     OVERTIME VIOLATION BY GREENE KLEEN OF SOUTH FLORIDA, INC.
               UNDER THE FAIR LABOR STANDARDS ACT

        38.   Plaintiff re-alleges and incorporates by reference the allegations in

  paragraphs 1 through 37 above as if fully set forth herein.

        39.   As part of its business, Greene Kleen purchased goods and materials

  that traveled through interstate commerce.

        40.   These goods and materials were customarily, continually, and

  regularly handled by two or more employees, including Plaintiff.

        41.   Upon information and belief, Greene Kleen obtained and solicited

  funds from non-Florida sources, accepted funds from non-Florida sources, used

  telephonic transmissions going over state lines to do its business, transmitted

  funds outside the State of Florida, used electronic means to market and run its

  business in a way that was not limited to Florida, and otherwise regularly

  engaged in interstate commerce during the relevant period.

        42.   Greene Kleen, upon information and belief, accepted credit card

  payments, wire transfers, and other forms of payments made or processed

  outside the state of Florida during the relevant time period.

        43.   During his employment with Greene Kleen, Plaintiff worked overtime

  hours for which he was not compensated at a rate of no less than one-and-one-

  half his regular rate of pay as required by the FLSA.

        44.   Greene Kleen did not properly compensate Plaintiff for his overtime

  despite knowledge of the overtime hours Plaintiff worked.


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          45.    Plaintiff is owed unpaid overtime compensation pursuant to the

  FLSA.

          46.    In addition, Greene Kleen is liable for double the overtime amounts

  owed as liquidated damages under the FLSA as a result of its intentional and

  willful violations for up to the three-year statute of limitations afforded by the

  FLSA.

          WHEREFORE, Plaintiff respectfully requests that the Court:

            a. Enter judgment for Plaintiff against Greene Kleen under the FLSA;

            b. Award Plaintiff actual damages for the unpaid overtime wages;

            c.   Award Plaintiff liquidated damages;

            d. Award Plaintiff his attorneys’ fees and costs;

            e.   Award Plaintiff all recoverable interest; and

            f.   Award any other relief this Honorable Court deems just and proper.



                                COUNT II
            OVERTIME VIOLATIONS AGAINST CIRA FIGUEROA UNDER
                     THE FAIR LABOR STANDARDS ACT

          47.    Plaintiff re-alleges and incorporates by reference the allegations in

  paragraphs 1 through 37 above as if fully set forth herein.

          48.    Cira operated the day-to-day activities of Defendants’ business, had

  supervisory authority over Plaintiff, had control/access to Plaintiff’s records for

  work hours, and was partially or totally responsible for paying Plaintiff’s wages.




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          49.    Cira scrutinized Plaintiff’s work and controlled how Plaintiff did his

  job.

          50.    During Plaintiff’s employment with Defendants, Plaintiff worked for

  Defendants over 40 hours per week.

          51.    During his employment with Defendants, Plaintiff worked overtime

  hours for which he was not compensated at a rate of no less than one-and-one-

  half his regular rate of pay as required by the FLSA.

          52.    Plaintiff is owed unpaid overtime compensation pursuant to the

  FLSA.

          53.    Cira did not compensate Plaintiff for his overtime despite her

  knowledge of the overtime hours Plaintiff worked and Plaintiff’s multiple

  complaints to her regarding the lack of overtime wages.

          54.    Cira is also jointly and severally liable for double the overtime

  amounts owed as liquidated damages under the FLSA as a result of her

  intentional and willful violation of the FLSA for up to the three-year statute of

  limitations afforded by the FLSA.

          WHEREFORE, Plaintiff respectfully requests that the Court:

            a. Enter judgment for Plaintiff against Cira under the FLSA;

            b. Award Plaintiff actual damages for the unpaid wages;

            c.   Award Plaintiff liquidated damages;

            d. Award Plaintiff his attorneys’ fees and costs;

            e.   Award Plaintiff all recoverable interest; and


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                  f.   Award any other relief this Honorable Court deems just and proper.

                                COUNT III
          OVERTIME VIOLATIONS AGAINST ANTHONY FIGUEROA UNDER
                     THE FAIR LABOR STANDARDS ACT

           55.         Plaintiff re-alleges and incorporates by reference the allegations in

   paragraphs 1 through 37 above as if fully set forth herein.

           56.         Anthony operated the day-to-day activities of Defendants’ business,

   had control/access to Plaintiff’s records for work hours, and was partially or

   totally responsible for paying Plaintiff’s wages.

           57.         Anthony scrutinized Plaintiff’s wages and controlled the method and

   the amounts Plaintiff was paid for his job.

           58.         During Plaintiff’s employment with Defendants, Plaintiff worked for

   Defendants over 40 hours per week.

           59.         During his employment with Defendants, Plaintiff worked overtime

   hours for which he was not compensated at a rate of no less than one-and-one-

   half his regular rate of pay as required by the FLSA.

           60.         Plaintiff is owed unpaid overtime compensation pursuant to the

   FLSA.

           61.         Anthony did not compensate Plaintiff for his overtime despite his

   knowledge of the overtime hours Plaintiff worked.

           62.         Anthony is also jointly and severally liable for double the overtime

   amounts owed as liquidated damages under the FLSA as a result of his




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   intentional and willful violation of the FLSA for up to the three-year statute of

   limitations afforded by the FLSA.

           WHEREFORE, Plaintiff respectfully requests that the Court:

                  a. Enter judgment for Plaintiff against Anthony under the FLSA;

                  b. Award Plaintiff actual damages for the unpaid wages;

                  c.   Award Plaintiff liquidated damages;

                  d. Award Plaintiff his attorneys’ fees and costs;

                  e.   Award Plaintiff all recoverable interest; and

                  f.   Award any other relief this Honorable Court deems just and proper.

                             COUNT IV
   COLLECTIVE ACTION AGAINST GREENE KLEEN OF SOUTH FLORIDA, INC.
            FOR UNPAID OVERTIME WAGES UNDER THE FLSA

           63.         Plaintiff re-alleges and incorporate by reference the allegations in

   paragraphs 1 through 37 above as if fully set forth herein.

           64.         Greene Kleen’s pattern and practice of depriving workers of

   overtime compensation required by the FLSA extended to all Maintenance

   Workers.

           65.         Maintenance Workers throughout have all been subject to the very

   same unlawful payment practices as Plaintiff.

           66.         Greene Kleen employed dozens other Maintenance Workers during

   the relevant period.




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           67.    Maintenance Workers for Greene Kleen have worked over forty (40)

   hours a week during the last three (3) years without being paid at time-and-a-

   half their regular rate of pay for the overtime hours worked.

           68.    Other similarly situated Maintenance Workers of Greene Kleen were

   also deprived overtime compensation at a rate of time-and-a-half their regularly

   rate of pay as required by the FLSA.

           WHEREFORE, Plaintiff respectfully requests that the Court:

           a.     Enter an order certifying this case as a collective action;

           b.     Enter judgment against Greene Kleen under the FLSA;

           c.     Award all similarly situated opt-in plaintiffs actual damages for the

   unpaid wages;

           d.     Award all similarly situated opt-in plaintiffs liquidated damages;

           e.     Award attorneys’ fees and costs;

           f.     Award all recoverable interest; and

           g.     Award any other relief this Honorable Court deems just and

   proper.

                             COUNT V
   COLLECTIVE ACTION AGAINST CIRA FIGUEROA FOR UNPAID OVERTIME
                      WAGES UNDER THE FLSA

           69.    Plaintiff re-alleges and incorporates by reference the allegations in

   paragraphs 1 through 37 above as if fully set forth herein.

           70.    Cira operated the day-to-day activities of Defendants’ business, had

   supervisory authority over Maintenance Workers, had control/access to records


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   for work hours and pay, and was partially or totally responsible for paying

   Maintenance Workers during the relevant period.

           71.      Cira scrutinized the work of Maintenance Workers during the

   relevant period and controlled how they did their jobs.

           72.      During the relevant period, Maintenance Workers consistently

   worked over 40 hours per week for Defendants.

           73.      During their employment with Defendants, Maintenance Workers

   worked overtime hours for which they were not compensated at a rate of time-

   and-a-half their regularly rate of pay as required by the FLSA.

           74.      Maintenance Workers are owed unpaid overtime compensation

   pursuant to the FLSA.

           75.      Cira did not compensate Maintenance Workers for their overtime

   despite knowledge of the overtime hours these Maintenance Workers worked.

           76.      Cira is also jointly and severally liable for double the overtime

   amounts owed as liquidated damages under the FLSA as a result of her

   intentional and willful violation of the FLSA for up to the three-year statute of

   limitations afforded by the FLSA.

           WHEREFORE, Plaintiff respectfully requests that the Court:

                  a. Enter judgment for Maintenance Workers against Cira under the

                    FLSA;

                  b. Award Maintenance Workers actual damages for the unpaid

                     overtime wages;


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                  c.   Award Maintenance Workers liquidated damages;

                  d. Award attorneys’ fees and costs;

                  e.   Award all recoverable interest; and

                  f.   Award any other relief this Honorable Court deems just and proper.

                               COUNT VI
        COLLECTIVE ACTION AGAINST ANTHONY FIGUEROA FOR UNPAID
                    OVERTIME WAGES UNDER THE FLSA

           77.         Plaintiff re-allege and incorporate by reference the allegations in

   paragraphs 1 through 37 above as if fully set forth herein.

           78.         Anthony operated the day-to-day activities of Defendants’ business,

   had supervisory authority over Maintenance Workers, had control/access to

   records for work hours and pay, and was partially or totally responsible for

   paying Maintenance Workers during the relevant period.

           79.         Anthony scrutinized the work of Maintenance Workers during the

   relevant period and controlled how they did their jobs.

           80.         During the relevant period, Maintenance Workers consistently

   worked over 40 hours per week for Defendants.

           81.         During their employment with Defendants, Maintenance Workers

   worked overtime hours for which they were not compensated at a rate of time-

   and-a-half their regularly rate of pay as required by the FLSA.

           82.         Maintenance Workers are owed unpaid overtime compensation

   pursuant to the FLSA.




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           83.         Anthony did not compensate Maintenance Workers for their

   overtime despite knowledge of the overtime hours the Maintenance Workers

   worked.

           84.         Anthony is also jointly and severally liable for double the overtime

   amounts owed as liquidated damages under the FLSA as a result of his

   intentional and willful violation of the FLSA for up to the three-year statute of

   limitations afforded by the FLSA.

           WHEREFORE, Plaintiff respectfully requests that the Court:

                  a. Enter judgment for Maintenance Workers against Anthony under

                       the FLSA;

                  b. Award Maintenance Workers actual damages for the unpaid

                       overtime wages;

                  c.   Award Maintenance Workers liquidated damages;

                  d. Award attorneys’ fees and costs;

                  e.   Award all recoverable interest; and

                  f.   Award any other relief this Honorable Court deems just and proper.

                                               JURY TRIAL

      Plaintiff hereby requests a trial by jury with respect to all claims so triable.



   Dated: July 22, 2022

                                                                   Respectfully submitted,

                                                                   /s/ J. Freddy Perera
                                                                   J. Freddy Perera, Esq.
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